Case: 6:09-cr-00016-KKC         Doc #: 947     Filed: 06/11/10     Page: 1 of 21 - Page ID#:
                                             12563



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                    (at London)

 UNITED STATES OF AMERICA,                     )
                                               )
        Plaintiff,                             )    Criminal Action No. 6: 09-16-S-DCR
                                               )
 V.                                            )
                                               )
 WILLIAM E. STIVERS, a/k/a “AL                 )       MEMORANDUM OPINION
 MAN,”                                         )           AND ORDER
                                               )
        Defendant.                             )

                                     ****    ****    ****

       Defendant William E. “Al Man” Stivers has filed a post-trial motion for judgment of

acquittal on Count 4 (attempted extortion) and Counts 12 and 13 (forfeiture) of the Superseding

Indictment. [Record No. 867] Stivers argues that his attempted-extortion conviction is not

supported by the evidence presented at trial. He further contends that to hold him jointly and

severally liable with his co-conspirators for the entire forfeiture amount would violate the

Excessive Fines Clause of the Eighth Amendment. For the reasons explained below, the Court

will grant Stivers’ motion with regard to Count 4 but deny the motion as to Counts 12 and 13.

       I.     BACKGROUND

       This case involves extensive corruption surrounding elections in Clay County, Kentucky.

Stivers and seven other defendants, including various Clay County public officials, were charged

in a thirteen-count Superseding Indictment that alleged RICO and money-laundering

conspiracies by all eight defendants, as well as other conspiracies and substantive offenses by


                                              -1-
Case: 6:09-cr-00016-KKC               Doc #: 947      Filed: 06/11/10          Page: 2 of 21 - Page ID#:
                                                    12564



individual defendants and combinations of defendants. [See Record No. 272] In the final two

counts, the United States sought forfeiture of $3,472,847.38 and $1,513,512.36 upon conviction

of the conspiracies charged in Counts 1 (RICO) and 2 (money laundering), respectively. In

addition to the RICO and money-laundering conspiracies, Stivers was charged with attempted

extortion, obstruction of justice, and voter-fraud and vote-buying conspiracies. Of these, only

the attempted-extortion count is at issue in the present motion. That charge was based on a series

of incidents in September 2004 during which Stivers, an election officer, and Defendant Charles

Wayne Jones, the Democratic election commissioner, approached Manchester city council

candidate Carmen Webb Lewis and informed her that she must pay $1,000 to ensure victory in

the upcoming election.1 Lewis testified at trial that her understanding was that the money should

be given to then-city council member Vernon Hacker, who would use it to buy votes for Lewis.

[Record No. 848, p. 74] On multiple occasions, Lewis refused to pay. Further, she informed

Stivers and Jones that she was unconcerned about losing the race if winning required payment

of $1,000. [Id., p. 11-13] Nevertheless, Lewis won a city council seat in the November 2004

election, securing the eighth and final council position. [Id., p. 35, 69]

        At the conclusion of an eight-week trial, a jury found all the defendants guilty on all

charges. Forfeiture proceedings were held before the same jury immediately following the


1        As noted below, the Court views the evidence in the light most favorable to the government.
However, the facts giving rise to the attempted-extortion charge are essentially uncontested. While Stivers
argued in his previous Rule 29 motions that the United States could not establish that he was a public official
at the time of the encounters with Lewis and thus he could not be convicted under the color-of-official-right
theory, he appears to have abandoned that argument for purposes of the present motion. In any event, the
Court notes that Sixth Circuit law is clear that private citizens may be convicted of extortion (or attempted
extortion) under color of official right in certain circumstances, such as where a private citizen aids and abets
a public official’s extortionate acts. See United States v. Kelley, 461 F.3d 817, 826 (6th Cir. 2006) (citing
United States v. Collins, 78 F.3d 1021, 1031-33 (6th Cir. 1996)).

                                                      -2-
Case: 6:09-cr-00016-KKC          Doc #: 947     Filed: 06/11/10       Page: 3 of 21 - Page ID#:
                                              12565



verdict. During the forfeiture proceedings, the United States displayed a chart that showed the

amount allegedly received by each defendant in connection with the RICO and money-

laundering conspiracies and thus subject to forfeiture. This breakdown included salaries of

defendants who had allegedly maintained their employment by virtue of their involvement with

the RICO enterprise, as well as the value of city and county contracts awarded to companies

owned by certain defendants, which represented proceeds of illegal activity as defined under the

money-laundering statute. While the United States asserted that Stivers received a $75,000

settlement in a civil lawsuit against the City of Manchester as a result of his relationship with

Defendant Cletus Maricle (then a circuit judge in Clay County), as well as a nominal sum for his

service as an election officer, the government’s chart did not attribute any of the total forfeiture

amount to Stivers. The jury ultimately found $3,200,000.00 subject to forfeiture under Count

12 and $1,513,512.36 subject to forfeiture under Count 13.

       Stivers previously moved for judgment of acquittal on Counts 1, 2, and 4 at the close of

the government’s case-in-chief and again at the close of all proof. Those motions were denied.

In the present motion, Stivers again contends that the evidence does not support his conviction

on Count 4, and he challenges the constitutionality of the forfeiture verdict on Counts 12 and 13.

       II.     ANALYSIS

       A motion for judgment of acquittal under Federal Rule of Criminal Procedure 29 “‘is a

challenge to the sufficiency of the evidence.’” United States v. Kuehne, 547 F.3d 667, 696 (6th

Cir. 2008) (quoting United States v. Jones, 102 F.3d 804, 807 (6th Cir. 1996)). When

considering a Rule 29 motion, the Court must view the evidence in the light most favorable to



                                                -3-
Case: 6:09-cr-00016-KKC           Doc #: 947     Filed: 06/11/10      Page: 4 of 21 - Page ID#:
                                               12566



the prosecution, giving the government “‘the benefit of all inferences which can reasonably be

drawn from the evidence.’” United States v. Carter, 355 F.3d 920, 925 (6th Cir. 2004) (quoting

United States v. Head, 927 F.2d 1361, 1365 (6th Cir. 1991)). Moreover, for purposes of a

motion for judgment of acquittal, “‘[i]t is not necessary that the evidence exclude every

reasonable hypothesis except that of guilt.’” Id. (quoting Head, 927 F.2d at 1365). Rather,

acquittal is required only “if ‘there is no evidence upon which a reasonable mind might fairly

conclude guilt beyond a reasonable doubt.’” United States v. Davis, 981 F.2d 906, 908 (6th Cir.

1992) (quoting United States v. Fawaz, 881 F.2d 259, 261 (6th Cir. 1989)). Despite this

relatively forgiving standard, upon review of the record the Court finds that there is insufficient

evidence to support Stivers’ conviction of attempted extortion under Count 4. However, his

constitutional argument with respect to forfeiture under Counts 12 and 13 fails.

               A.      Attempted Extortion

       Stivers was charged with attempted extortion under the Hobbs Act, 18 U.S.C. § 1951.

The statute provides that “[w]hoever in any way or degree obstructs, delays, or affects

commerce, by . . . extortion or attempts or conspires so to do, . . . shall be fined under this title

or imprisoned not more than twenty years, or both.” 18 U.S.C. § 1951(a). “Extortion” is defined

as “the obtaining of property from another, with his consent, induced by wrongful use of actual

or threatened force, violence, or fear, or under color of official right.” 18 U.S.C. § 1951(b)(2).

The term “fear” includes fear of economic loss. Collins, 78 F.3d at 1030.

       In this case, the United States charged attempted extortion under two theories. First, it

contended that Stivers attempted to obtain money from Carmen Webb Lewis by the wrongful



                                                -4-
Case: 6:09-cr-00016-KKC         Doc #: 947      Filed: 06/11/10     Page: 5 of 21 - Page ID#:
                                              12567



use of fear of economic loss. Second, it asserted that Stivers attempted to obtain money from

Lewis under color of official right. Stivers argues that the evidence presented at trial does not

support his conviction under either theory.

                      1.     Fear of Economic Loss

       To prove attempted extortion under a fear-of-economic-loss theory, the government must

establish that the defendant attempted to obtain property from the victim by wrongfully causing

her to fear economic loss — or, if the victim already had such a fear, by exploiting it. See 18

U.S.C. § 1951(b)(2); United States v. Williams, 952 F.2d 1504, 1513-14 (6th Cir. 1991) (in

extortion case under § 1951, defendant need not have caused victim’s fear; exploitation of

existing fear is sufficient); United States v. Goodoak, 836 F.2d 708, 712 (1st Cir. 1988) (while

in extortion cases the government must prove that the victim was actually afraid, in an

attempted-extortion case, “it is sufficient merely to show an attempt to generate fear in the

victim” (citing cases from the Second, Fifth, Eighth, and Ninth Circuits)). The defendant need

not have threatened the victim in any way. Williams, 952 F.2d at 1513. However, the alleged

fear must be reasonable. United States v. Mitov, 460 F.3d 901, 907 (7th Cir. 2006). Thus, in the

instant case, the United States was required to show that Stivers attempted to make Lewis fear

she would suffer economic loss if she did not pay as instructed — or that he intended to exploit

such a fear — and that the fear would have been reasonable.

       Stivers contends that, at most, the evidence adduced at trial shows that he attempted to

exploit Lewis’ fear that she would be unsuccessful in the city council race. [Record No. 867-1,

p. 7] He maintains that losing the election would have been a non-economic harm that cannot



                                               -5-
Case: 6:09-cr-00016-KKC             Doc #: 947      Filed: 06/11/10        Page: 6 of 21 - Page ID#:
                                                  12568



support a conviction under the fear-of-economic-loss theory. [Id.] The United States responds

by arguing, for the first time, that Lewis feared that the money she had spent on her campaign

would be wasted if she did not pay as Stivers directed. [Record No. 908, p. 8] According to the

United States, “Lewis clearly was reasonable in her fear that if she did not pay as directed by

Stivers and Jones she would not be elected and all monies used in her campaign for city council

would be spent in vain.” [Record No. 908, p. 8] The government further notes that “[t]he

evidence was replete with examples where Clay County candidates were fleeced for

contributions by these defendants” and asserts that, “anyone trying to get elected in Manchester

would be reasonable in believing that money spent to get elected would be in vain unless those

in power and influence inside the Board of Elections were compensated.”2 [Id.] However, the

United States does not point to any evidence that Lewis had such a fear. In fact, a review of her

testimony reveals none.

        While the victim’s state of mind is not an essential element of the offense in attempted-

extortion cases, evidence regarding the victim’s reaction to the alleged extortion attempt is

relevant to show whether the defendant possessed the requisite intent. Goodoak, 836 F.2d at

712. Here, the evidence not only failed to show that Lewis feared economic loss if she did not

win the election, it actually established the contrary: Lewis testified unequivocally that the

prospect of losing the city council race did not worry her. [Record No. 848, p. 13] She

described her repeated refusals to pay and recalled that the second time Stivers and Jones


2        The government’s suggestion that Lewis would have been reasonable to fear that her campaign
expenditures would be for naught if election officials were not “compensated” is without support, since, as
will be discussed more fully in the next section, there was no evidence that the money sought from Lewis was
to be used for anything other than vote-buying.

                                                    -6-
Case: 6:09-cr-00016-KKC              Doc #: 947      Filed: 06/11/10         Page: 7 of 21 - Page ID#:
                                                   12569



approached her and told her that she could not win a city council seat if she did not pay $1,000,

she “pretty much just said, ‘Listen, that’s okay, I just won’t win. I’ll just take the chances, I’m

not worried about that, I’m not winning. If I don’t pay, I’m not worried about it.’” [Id.] Lewis

never testified that she was afraid of what would happen if she did not pay the money Stivers

told her was required, and there is no evidence suggesting that she was concerned about losing

whatever money she had invested in her campaign. Moreover, she did not mention that she had

spent any money on the race at all. Instead, she indicated that she would not have paid a

significant amount to secure her election. Lewis testified that she told Stivers she was “not

giving a thousand dollars for anything, let alone a city council race.”3 [Id., p. 9]

        Nor is there evidence that other candidates lost money in this way or feared that they

might.4 Although the United States contends that Ray “Chipman” Adams was also a victim of

extortion attempts by Stivers [id., p. 1] during his unsuccessful race for magistrate in 2002,

Adams’ brief testimony contains no suggestion that Stivers intended to make him fear that he

would lose whatever money he had spent on the race if he did not cooperate:

        Q       If you could, tell us about that meeting that you had with Mr. Stivers prior
                to the election day in 2002.



3        Although the United States was not required to prove that Lewis actually feared economic loss for
purposes of the attempted-extortion charge, the Court notes that the government’s after-the-fact argument as
to her supposed fear makes little sense from a mathematical standpoint, given the evidence presented at trial.
If, as Lewis testified, she was unwilling to spend $1,000 on the city council race, then she would have had
less than $1,000 to lose by not paying the money Stivers told her was required — in other words, if she had
lost the race without paying, she would have been in a better position economically than had she given the
$1,000 to Hacker and won.

4       It is debatable whether fearing the loss of campaign funds would be reasonable in any event, since
even in a legitimate election there are winners and losers, the latter of whom could be said to have “wasted”
whatever money they spent on the race.

                                                     -7-
Case: 6:09-cr-00016-KKC        Doc #: 947     Filed: 06/11/10     Page: 8 of 21 - Page ID#:
                                            12570



       A      [Stivers] and another fella came to my house and they wanted to put me
              on the ticket to run, you know, for magistrate and he asked me for $6,000.

              ....

       Q      And what did you tell them?

       A      I told them no, I didn’t want to win it that way and I didn’t have the
              money to do [any]thing like that [any]way.

       Q      Now, they referred to putting you on a ticket. Did you know what they
              meant by that?

       A      No.

       Q      Okay. Did you ask them to explain it to you any more?

       A      No.

       Q      Did you get approached any more by Mr. Stivers before that election in
              2002?

       A      Yes, he c[a]me back a week or maybe two weeks after that and r[a]ng the
              doorbell, and I went to the door and he asked me had I changed my mind
              and I said no and he left.

[Record No. 850, p. 6-8] On cross-examination by Stivers’ counsel, Adams acknowledged that

he was not sure exactly what Stivers meant by the request but that he knew he did not have the

$6,000 Stivers sought. [Id., p. 10] He did not mention having spent any money on the race or

being afraid he would suffer economic harm if he did not come up with the $6,000. Adams’

testimony thus lends no support to the government’s position.

       In short, nothing in the record tends to show that Stivers’ intent was to make Lewis pay

$1,000 out of a reasonable fear that she would lose money she had already spent on the race.

While the jury certainly could have inferred from Lewis’ testimony that Stivers attempted to



                                             -8-
Case: 6:09-cr-00016-KKC          Doc #: 947     Filed: 06/11/10       Page: 9 of 21 - Page ID#:
                                              12571



create or exploit a fear that she would lose the city council race (even if the evidence showed that

he was unsuccessful in that attempt), the record contains no evidence supporting a reasonable

inference that Stivers tried to instill or exploit a fear of economic loss if Lewis did not pay the

$1,000 he told her was necessary in order to win. The government’s argument that Lewis might

have feared the loss of money she had already spent on the race is simply too attenuated, as there

is no evidence that she had even made any such expenditures, that other candidates had

experienced or feared similar losses, or any other evidence that Stivers intended to prey on a fear

of such monies going to waste. Moreover, the record reveals no other economic loss that Lewis

stood to suffer if she did not pay as directed. Thus, the Court finds that there is insufficient

evidence to support Stivers’ conviction of attempted extortion under the government’s fear-of-

economic-loss theory.

                       2.     Color of Official Right

       The United States also alleged that Stivers and Jones attempted to obtain money from

Carmen Webb Lewis under color of official right. Stivers argues that his conviction under this

theory is unsupportable because the evidence does not show that he, Jones, or Vernon Hacker

sought the money in exchange for the taking or withholding of any official action. [Record No.

867-1, p. 8] The Court agrees with Stiver’s contention on this point.

       The Supreme Court has held that, to convict a defendant of extortion under color of

official right, the United States must establish “that a public official has obtained a payment to

which he was not entitled, knowing that the payment was made in return for official acts.”

Evans v. United States, 504 U.S. 255, 268 (1992) (emphasis added). The government need not



                                                -9-
Case: 6:09-cr-00016-KKC          Doc #: 947      Filed: 06/11/10      Page: 10 of 21 - Page ID#:
                                               12572



prove an “explicit, direct link” between the payment received by the public official and “a

promise to perform a particular, identifiable act,” nor is it required that the official have intended

to actually take the agreed-upon action. United States v. Abbey, 560 F.3d 513, 518 (6th Cir.

2009). However, the payment must be part of an agreement that the recipient will “improperly

exert his official influence on the payor’s behalf.” Id. at 519 (emphasis added). There is no

evidence of such an agreement, or an attempt to create one, in this case.

       The United States asserts that “Defendants Jones and Stivers made clear that Lewis ‘must

pay to win’ and implied that she would need their influence in acting or not acting in their

official capacities to win her office.” [Record No. 908, p. 6] In support of this assertion, the

government simply notes that Jones was a member of the Clay County Board of Elections, which

was responsible for certifying election results, and that Stivers was an election officer. [Id., p.

5-6] However, while Lewis testified that at the time of her encounters with Stivers and Jones,

she was aware that Stivers “handled . . . the absentee voting when you went into the machine

before the election started” and Jones was “on the county Board of Elections,” there is no

evidence that the demand for $1,000 was related to those positions (or to Hacker’s position as

a city council member), nor did Lewis’ testimony suggest that Stivers attempted to make her

believe that he or Jones would exercise any official influence on her behalf in exchange for

payment. Instead, Lewis agreed on direct examination, the “clear impression” she got from

Stivers and Jones was that the money would be used to buy votes in her favor. [Record No. 848,

p. 10; see also id., p. 74-75]




                                                -10-
Case: 6:09-cr-00016-KKC              Doc #: 947      Filed: 06/11/10         Page: 11 of 21 - Page ID#:
                                                   12573



        Even if there had been evidence that Stivers improperly wielded his influence as a public

official in attempting to persuade Lewis to pay, no one can seriously contend that vote-buying

— a crime — would constitute an “official act” by an election officer, election commissioner,

or city council member.5 See id. The government does not point to evidence supporting a

conclusion that the action that was supposed to have been taken in exchange for the $1,000 was

anything other than vote-buying, and the Court can find none. Because the record does not

support a reasonable inference that Stivers attempted to obtain money from Lewis in exchange

for an official act, there is insufficient evidence to sustain his conviction of attempted extortion

under a color-of-official-right theory.

                 B.      Forfeiture

        With respect to the two forfeiture counts, Stivers does not directly challenge the

sufficiency of the evidence supporting the verdict but instead argues that holding him liable for

the approximately $4.7 million forfeiture total would violate the Excessive Fines Clause of the

Eighth Amendment. [Record No. 867-1, p. 6] His argument is largely based on the absence of

a dollar amount next to his name on a chart used by the United States to illustrate how it arrived

at the total forfeiture amount. Each of the other seven defendants was assigned a dollar figure

that represented the sum of money he or she had allegedly received in connection with the




5        This might be a closer question if, for example, Stivers had attempted to give Lewis the impression
that in exchange for $1,000, he would change votes in her favor or refrain from changing votes in favor of
her competitors — i.e., that he would take some action as an election officer in return for the money. While
such actions still would not have been official acts, they at least would have been more directly related to his
position than vote-buying, which does not require access to a public office.

                                                     -11-
Case: 6:09-cr-00016-KKC          Doc #: 947     Filed: 06/11/10      Page: 12 of 21 - Page ID#:
                                              12574



conspiracies charged in Counts 1 and 2.6 Stivers maintains that because the United States did

not allege or prove that he received any money as a result of his participation in the conspiracies,

the $4.7 million forfeiture constitutes an unconstitutional excessive fine as to him.

       As a preliminary matter, the Court notes that a Rule 29 motion may not be the appropriate

vehicle for such a challenge, as Stivers no longer contests the sufficiency of the evidence with

regard to the convictions underlying the forfeiture verdict (i.e., the RICO and money-laundering

conspiracies), nor does he argue that there is insufficient evidence connecting the property

sought to be forfeited with those underlying offenses. Criminal forfeiture “is a part of the

defendant’s sentence, not part of the substantive offense of conviction.” United States v.

Corrado, 227 F.3d 543, 558 (6th Cir. 2000) (citing Libretti v. United States, 516 U.S. 29, 39

(1995)). Thus, because it relates to the punitive aspect of the requested forfeitures and not

whether the forfeiture verdicts are supported by the evidence, Stivers’ Eighth Amendment

argument would be more properly made upon entry of final judgment of forfeiture. In any event,

however, the Court finds Stivers’ constitutional challenge unpersuasive.

                       1.     Joint and Several Liability

       The Sixth Circuit has unequivocally stated that “co-conspirators in a RICO enterprise

should be held jointly and severally liable for the reasonably foreseeable proceeds of the

enterprise, and are not limited to amounts each defendant personally ‘obtained.’” Corrado, 227

F.3d at 558. In Corrado, the court held that it was clear error for the district court to require



6       These amounts ranged from $2,900.00 (Defendant Jones’ compensation for service as Democratic
election commissioner) to $704,736.13 (Defendant Doug Adams’ total salary as superintendent of Clay
County schools during the conspiracies’ existence).

                                               -12-
Case: 6:09-cr-00016-KKC              Doc #: 947       Filed: 06/11/10        Page: 13 of 21 - Page ID#:
                                                    12575



proof that money collected by certain conspiracy members had been shared with other co-

conspirators. The court quoted with approval an Eighth Circuit holding that “‘[t]he government

is not required to prove the specific portion of proceeds for which each defendant is

responsible.’” Id. at 553 (quoting United States v. Simmons, 154 F.3d 765, 769-70 (8th Cir.

1998)). The Corrado defendants were thus held jointly and severally liable in forfeiture for

proceeds their co-conspirators obtained “by reason of their ‘participation or involvement’ in [the]

enterprise,” even where the evidence did not show that they had received any personal benefit

from their co-conspirators’ activities.7 Id. at 556.

        Moreover, while the Sixth Circuit has not addressed the issue in other forfeiture contexts,

several circuits follow a similar rule with respect to forfeiture in non-RICO conspiracy cases,

including cases involving conspiracy to commit money laundering under 18 U.S.C. § 1956. See

United States v. Pitt, 193 F.3d 751, 765 (3d Cir. 1999) (“We interpret [18 U.S.C.] § 982(a)(1)

as imposing a rule of joint and several liability in the case of a money laundering

conspiracy. . . . [T]he statute recognizes that the amount of property involved in a money

laundering conspiracy cannot be different for different conspirators.”); United States v. Hurley,

63 F.3d 1, 22 (1st Cir. 1995) (“It is largely fortuitous whether an individual co-conspirator


7         Stivers attempts to distinguish Corrado, arguing that the Sixth Circuit “has not ruled that forfeiture
liability arises where the government concedes that a defendant has not gained any proceeds at all from the
charged criminal activity.” [Record No. 867-1, p. 6] However, that is precisely the rule set out in Corrado:
that all members of a RICO conspiracy are liable for reasonably foreseeable conspiracy proceeds, regardless
of whether each individual member received a share. See 227 F.3d at 557-58. Furthermore, in the portion
of the Corrado decision quoted by Stivers regarding proceeds from the sale of a hotel, the Sixth Circuit
declined to reverse the district court’s ruling because it found “scant evidence of a connection between the
enterprise and the sale of th[e] hotel” — in other words, there was insufficient evidence that the proceeds of
the transaction were subject to forfeiture. Id. at 555 (emphasis added). As noted previously, Stivers does not
challenge the sufficiency of the evidence connecting the funds sought in forfeiture with the underlying
conspiracies.

                                                     -13-
Case: 6:09-cr-00016-KKC          Doc #: 947     Filed: 06/11/10      Page: 14 of 21 - Page ID#:
                                              12576



happened to possess the laundered funds at a particular point. . . . So long as the amount handled

by others is foreseeable as to a defendant, the foreseeable amount represents the sounder measure

of liability.”); see also, e.g., United States v. Jalaram, Inc., 599 F.3d 347 (4th Cir. 2010)

(forfeiture under 18 U.S.C. § 2253 for conspiracy to violate the Mann Act); United States v.

McHan, 101 F.3d 1027, 1043 (4th Cir. 1996) (forfeiture under 21 U.S.C. § 853 for conspiracy

to distribute marijuana). The Court sees no reason to distinguish between the RICO and money-

laundering conspiracies with respect to joint and several liability, given the well-established rule

that a conspiracy member is liable for reasonably foreseeable substantive offenses committed

by his co-conspirators in furtherance of the conspiracy. See Pinkerton v. United States, 328 U.S.

640, 646-47 (1946); Hurley, 63 F.3d at 22 (holding co-conspirators jointly and severally liable

in forfeiture based on Pinkerton rule). Thus, the Eighth Amendment analysis here begins with

the assumption that Stivers is jointly and severally liable in forfeiture for the reasonably

foreseeable proceeds of the conspiracies charged in Counts 1 and 2.

                       2.     Excessive Fines Clause

       The Sixth Circuit acknowledged in Corrado that “any forfeiture award must comport with

the Eighth Amendment prohibition against ‘cruel and unusual punishment’ or ‘excessive fines.’”

227 F.3d at 558.      However, because the defendants in that case did not challenge the

constitutionality of the forfeiture judgment under the Excessive Fines Clause, the court did not

engage in a detailed Eighth Amendment analysis but instead simply noted that it was “satisfied

that there has been no Eighth Amendment violation under the circumstances of this case,




                                               -14-
Case: 6:09-cr-00016-KKC          Doc #: 947     Filed: 06/11/10      Page: 15 of 21 - Page ID#:
                                              12577



particularly in light of the seriousness of the offenses charged and the great amounts of income

derived through the activities of th[e] enterprise over the years.” Id.

       The amount of forfeiture in relation to the seriousness of the underlying offense is “[t]he

touchstone of the constitutional inquiry under the Excessive Fines Clause.” United States v.

Bajakajian, 524 U.S. 321, 334 (1998); see also Corrado, 227 F.3d at 552 (“Though the [RICO

forfeiture] statute appears to require total forfeiture of illegal proceeds, courts can reduce the

forfeiture to make it proportional to the seriousness of the offense so as not to violate the Eighth

Amendment prohibition against ‘cruel and unusual punishment’ or ‘excessive fines.’”). A

forfeiture that is “grossly disproportional” to the gravity of the offense it is meant to punish

violates the Eighth Amendment. Bajakajian, 524 U.S. at 334.

       In Bajakajian, the Supreme Court considered several factors in determining that forfeiture

of the entire amount involved in a currency-reporting violation was grossly disproportional to

the offense and thus unconstitutional: (1) the nature of the offense; (2) the origin and intended

use of the money; (3) whether the offense was connected to other crimes or was an isolated

incident; (4) whether the defendant belonged to the class of persons targeted by the statute; (5)

the maximum sentence and fine for the offense; and (6) the harm caused by the defendant’s

actions. Id. at 337-39; see also United States v. Ely, 468 F.3d 399, 402-03 (6th Cir. 2006)

(analyzing forfeiture under Bajakajian factors). Because Bajakajian’s crime “was solely a

reporting offense” that was “unrelated to any other illegal activities”; the currency “was the

proceeds of legal activity and was to be used to repay a lawful debt”; Bajakajian “d[id] not fit

into the class of persons for whom the statute was principally designed”; the maximum sentence



                                               -15-
Case: 6:09-cr-00016-KKC         Doc #: 947     Filed: 06/11/10       Page: 16 of 21 - Page ID#:
                                             12578



for the offense was six months’ imprisonment and the maximum fine was $5,000; and the harm

caused by the crime was “minimal,” the Supreme Court concluded that Bajakajian’s crime was

not serious enough to justify forfeiture of the entire $357,144 involved in the reporting offense.

Bajakajian, 524 U.S. at 337-40.

       The Sixth Circuit has applied the Bajakajian factors in forfeiture cases, but — other than

the perfunctory finding in Corrado mentioned above — does not appear to have addressed the

issue of excessive fines in the context of joint and several liability among co-conspirators.

However, the Court finds a recent Fourth Circuit decision instructive. In United States v.

Jalaram, Inc., the defendant was convicted of conspiracy to violate the Mann Act, conspiracy

to induce an individual to travel in interstate commerce to engage in prostitution, conspiracy to

commit money laundering, and money laundering. See 599 F.3d at 350. The government sought

to enforce the jury’s verdict that the conspirators (including Jalaram) were jointly and severally

liable for the gross proceeds of the Mann Act conspiracy. Id. The district court concluded that

the requested forfeiture was grossly disproportional to Jalaram’s offense and thus would violate

the Excessive Fines Clause. Id.

       The Fourth Circuit first considered the government’s argument that the proposed

forfeiture was not subject to the Eighth Amendment. Holding that the Excessive Fines Clause

did apply, the court observed that while only in rare cases would a single defendant be able to

establish that forfeiture of proceeds violated the Excessive Fines Clause, exempting such

forfeitures from the Eighth Amendment’s reach could:

       work a grave injustice in cases involving joint and several liability. In such cases,
       some defendants inevitably disgorge more money than they received from the


                                               -16-
Case: 6:09-cr-00016-KKC          Doc #: 947     Filed: 06/11/10        Page: 17 of 21 - Page ID#:
                                              12579



       conspiracy, thus forfeiting property that they obtained lawfully in order to satisfy
       the forfeiture judgment. In a case where a defendant played a truly minor role in
       a conspiracy that generated vast proceeds, joint and several liability for those
       proceeds might result in a forfeiture order grossly disproportional to the
       individual defendant’s offense.

Id. at 354-55 (footnote omitted). The Fourth Circuit thus recognized that special Eighth

Amendment concerns might arise in cases involving joint and several liability among co-

conspirators.

       The court ultimately determined, however, that the $358,390.22 forfeiture award sought

against Jalaram did not constitute an excessive fine. Id. at 357. In reaching this conclusion, the

court first applied the Bajakajian factors, which supported the constitutionality of the forfeiture:

the conspiracy had “generated hundreds of thousands of dollars in illicit revenues” and was in

operation over a period of several months; the crimes charged were related to other offenses; and

the sentencing guidelines for Jalaram’s offense provided for a fine of up to $350,000. Id. at 356.

The court concluded that these factors “indicate[d] that Congress considers crimes like Jalaram’s

far more serious than the reporting offense in Bajakajian, and that Jalaram must clear a

significantly higher hurdle to show that the requested forfeiture is grossly disproportional to the

gravity of its offense.” Id.

       The court rejected Jalaram’s argument that it had received little money from its

participation in the conspiracy, finding that the amount of proceeds the company received was

not necessarily indicative of the extent of its role in the offense.

       [T]he fact that Jalaram may have received only a small share of the proceeds, in
       and of itself, does not demonstrate that it played a minor role in the conspiracy.
       That fact establishes only that Jalaram’s participation in the conspiracy was not
       lucrative; it does not speak to Jalaram’s level of culpability.


                                                -17-
Case: 6:09-cr-00016-KKC         Doc #: 947     Filed: 06/11/10      Page: 18 of 21 - Page ID#:
                                             12580




Id. In fact, the court found, Jalaram had been a major player in the organization, “st[anding] at

the heart of the conspiracy’s day-to-day operations for a six-month period.” Id. at 357. Based

on this extensive involvement and the seriousness of Jalaram’s offense as measured by the

Bajakajian factors, the Fourth Circuit concluded that the requested forfeiture did not violate the

Excessive Fines Clause and held that the district court had erred in finding otherwise. Id.

       Likewise, in the instant case, the Bajakajian factors and the evidence of Stivers’ level of

involvement in the conspiracies indicate that the Court would not run afoul of the Eighth

Amendment by holding him jointly and severally liable for the entire forfeiture amount. First,

the underlying offenses — conspiracy to violate RICO and conspiracy to commit money

laundering — are much more significant crimes than a mere failure to report currency. The

second Bajakajian factor is also met, as each conspiracy was by definition related to other illegal

activities: the members of the RICO enterprise conspired to engage in extortion, bribery, honest-

services mail fraud, and obstruction of justice, and the money-laundering conspiracy involved

proceeds of bribery and extortion. Third, the money sought in forfeiture consists of the fruits

of illegal activity: the funds at issue under Count 12 include salaries received by defendants who

maintained their employment by virtue of their association with the criminal enterprise; likewise,

the forfeiture sought under Count 13 represents the value of city and county contracts awarded

to certain defendants in exchange for their participation in vote-buying. As a member of an

established criminal organization, Stivers also falls into the class of persons targeted by the

RICO and money-laundering statutes. Moreover, unlike the essentially victimless reporting

offense at issue in Bajakajian, the harm caused by the conspirators in this case was significant:


                                               -18-
Case: 6:09-cr-00016-KKC         Doc #: 947     Filed: 06/11/10      Page: 19 of 21 - Page ID#:
                                             12581



there was substantial evidence presented at trial that these conspiracies were at the heart of

widespread corruption in Clay County. And there was also evidence connecting the groups to

drugs and acts of violence.

       Finally, and perhaps most convincing, the maximum statutory penalty for the RICO

conspiracy charge is a fine of twice the proceeds obtained from the crime and twenty years in

prison; for the money-laundering conspiracy, the statutory maximum is equally severe: a fine of

twice the value of the property involved in the transaction and twenty years in prison. See 18

U.S.C. §§ 1963(a), 1956(a)(1). In other words, there is no ceiling on the monetary penalty that

can be imposed for either offense. Rather, the amount of the fine is limited only by the amount

of money involved in the crime. It is apparent, then, that Congress considered these to be very

serious offenses, and thus Stivers “must clear a significantly higher hurdle to show that the

requested forfeiture is grossly disproportional to the gravity of [his] offense.” Jalaram, 599 F.3d

at 356. Because the evidence shows that he played a major role in the conspiracies, that hurdle

is insurmountable.

       The government presented ample evidence of Stivers’ involvement in the conspiracies.

For example, the jury heard audiotapes of Stivers instructing a cooperating witness how to

answer questions about other conspiracy members at her impending appearance before a federal

grand jury. On another recording, Stivers reassured the cooperating witness that co-conspirators

Jones and Freddy Thompson “took care of” fraudulent voter-assistance forms she had signed as

an election officer. Moreover, while the evidence regarding Stivers’ encounters with Carmen

Webb Lewis did not prove attempted extortion, it did show Stivers’ connection to the vote-



                                               -19-
Case: 6:09-cr-00016-KKC          Doc #: 947     Filed: 06/11/10       Page: 20 of 21 - Page ID#:
                                              12582



buying scheme and the related money-laundering conspiracy, in which Vernon Hacker, as a

member of the Manchester city council, helped ensure that city contracts went to companies

owned by Defendants William Morris and Stanley Bowling in exchange for their participation

in vote-buying. Thus, it is clear that Stivers was not a bit player in these criminal organizations.

Indeed, as the United States points out, based on the evidence presented at trial, “[i]t is difficult

to identify any one among the eight defendants who had more involvement in the mechanics of

the enterprise than Stivers.” [Record No. 908, p. 5]

       Whether Stivers received any personal benefit as a result of his membership in the

conspiracies is irrelevant. He is responsible for the reasonably foreseeable proceeds of those

conspiracies. See Corrado, 227 F.3d at 558. The evidence shows that Stivers was well-aware

of the roles played by the various conspiracy members. Thus he could reasonably have foreseen

that his co-conspirators would receive salaries or contracts as a result of their association with

the conspiracies. The United States’ failure to put a dollar amount next to Stivers’ name on a

visual aid is insignificant, because the government was not required to prove that he received any

share of the funds. See id. The fact that his participation in the conspiracies was not profitable

does not detract from his extensive involvement in them. See Jalaram, 599 F.3d at 356. Based

on the seriousness of the crimes Stivers committed and his level of participation in the

conspiracies, the Court finds that the requested forfeiture is not is not grossly disproportional to

the seriousness of his offense and thus will not violate the Excessive Fines Clause of the Eighth

Amendment.




                                                -20-
Case: 6:09-cr-00016-KKC          Doc #: 947     Filed: 06/11/10     Page: 21 of 21 - Page ID#:
                                              12583



       III.    CONCLUSION

       The evidence presented at trial does not support Stivers’ conviction on Count 4 under

either of the theories pursued by the United States. However, Stivers may properly be held

jointly and severally liable for the forfeiture amounts found by the jury on Counts 12 and 13.

Accordingly, it is hereby

       ORDERED as follows:

       (1)     Stivers’ Motion for Judgment of Acquittal [Record No. 867] is GRANTED as to

Count 4 (attempted extortion).

       (2)     Stivers’ motion is DENIED as to Counts 12 and 13 (forfeiture). Upon entry of

final judgment of forfeiture, Stivers will be jointly and severally liable for the full forfeiture

amount.

       This 11th day of June, 2010.




                                               -21-
